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 6                          UNITED STATES DISTRICT COURT
 7                                  DISTRICT OF ARIZONA
 8    Fernando Gastelum, an individual,               Case No.: CV17-02536-PHX DGC
 9
                      Plaintiff,                      ORDER OF DISMISSAL WITH
10
                                                            PREJUDICE
11    v.

12    MCPHX17 LLC, an Arizona limited
      liability company, and EK ONKAR,
13
      LLC, a Michigan limited liability
14    company,

15                    Defendants.
16

17          The Court has received the Stipulation for Dismissal with Prejudice by Defendants

18   MCPHX17, LLC, EK ONKAR, LLC and Plaintiff Fernando Gastelum. Doc. 37.

19          IT IS ORDERED that the parties’ stipulation of dismissal with prejudice
20   (Doc. 37) is granted. This lawsuit and matter is dismissed in its entirety with prejudice,
21   each party to bear its own attorneys’ fees and costs.

22          Dated this 6th day of February, 2018.

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